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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                       )
                                               )
   v.                                          )      USDC No. 22-cr-103 (RCL)
                                               )
John Lammons,              defendant.          )

                                           NOTICE



         THE COURT WILL PLEASE NOTE filing of the attached exhibit (2 pages), consisting

of proof of defendant’s attendance in drug treatment meetings that were required by the Pretrial

Services Agency as a condition of release in this case, pertinent to allegations that appear in its

Status Report, dated Feb. 3, 2023 (ECF Doc. 38)

         This notice is,

                                               Respectfully submitted,

                                                   Nathan I. Silver

                                               NATHAN I. SILVER, ESQ.
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                                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of this Notice has been served upon Andrew Haag,
Esq., United States Dept. of Justice (USAO-DC), attorney of record for the United States, via
ECF this 5th day of February, 2023.

                                               __Nathan I. Silver_____
                                               Nathan I. Silver
